       Case 20-10643-pmm                       Doc      Filed 01/07/25 Entered 01/07/25 17:50:34                               Desc Main
 Fill in this information to identify the case:         Document      Page 1 of 8

 Debtor 1          Sharifah  Patience
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern                Pennsylvania
                                         __________ District of __________

 Case number           20-10643-pmm
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: Nationstar Mortgage LLC
                   _______________________________________                                                       5
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          4 ____
                                                        ____ 0 ____
                                                                 3 ____
                                                                     6               Must be at least 21 days after date       2/1/2025
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                               1,108.44
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q No
      q Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                     351.91
                   Current escrow payment: $ _______________                       New escrow payment:                   468.01
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:        _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q No
      q Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
      Case 20-10643-pmm                        Doc          Filed 01/07/25 Entered 01/07/25 17:50:34                        Desc Main
                                                            Document      Page 2 of 8

Debtor 1         Sharifah   Patience
                 _______________________________________________________                                  20-10643-pmm
                                                                                       Case number (if known) _____________________________________
                 First Name   Middle Name      Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q I am the creditor.
     q I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û/s/ Bryan S. Fairman
     _____________________________________________________________
     Signature
                                                                                       Date   12/26/2024
                                                                                              ___________________




 Print:            Bryan  S. Fairman
                   _________________________________________________________           Title Authorized  Agent for Creditor
                                                                                             ___________________________
                    First Name                Middle Name       Last Name



 Company           Aldridge  Pite, LLP
                   _________________________________________________________



 Address           3333 Camino del Rio South, Suite 225
                   _________________________________________________________
                    Number           Street

                   San Diego                       CA      92108
                   ___________________________________________________
                    City                                        State       ZIP Code



 Contact phone     (858) 750-7600
                   ________________________                                                   pcn-ppfn.inquiries@mrcooper.com
                                                                                       Email ________________________




Official Form 410S1                                           Notice of Mortgage Payment Change                                           page 2
Case 20-10643-pmm                        Doc          Filed 01/07/25 Entered 01/07/25 17:50:34                                                  Desc Main
                                                      Document      Page    3 of 8
                                                                     11/30/2024    OUR INFO
                                       RETURN SERVICE ONLY                                                     ONLINE
                                       PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                       PO Box 818060                                                           www.mrcooper.com
                                       5801 Postal Road
                                       Cleveland, OH 44181

                                                                                                               YOUR INFO
                                                                                                               CASE NUMBER
                                                                                                               2010643


   SHARIFAH PATIENCE
   620 E JOHNSON STREET
                                                                                                               PROPERTY ADDRESS
   PHILADELPHIA,PA 19138
                                                                                                               620 EAST JOHNSON STREET
                                                                                                               PHILADELPHIA, PA 19138




   Dear SHARIFAH PATIENCE,

   An annual escrow analysis was performed on the above referenced account.

   Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow account disclosure
   statement is for informational purposes only and should not be construed as an attempt to collect a debt.

   If you are represented by an attorney in your bankruptcy, please forward a copy of this letter to such attorney and provide such
   attorney’s name, address and telephone number to us.

   If you have any questions, please call our Bankruptcy Department at 877-343-5602. Our hours of operation are Monday through
   Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.mrcooper.com for more information.

   Sincerely,

   Mr. Cooper

   Enclosure




   Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
   Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
   Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
   recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
   discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to collect a
   debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property securing the loan
   obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an
   attempt to collect against the borrower personally or an attempt to revive personal liability.
   If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the
   loan) that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an
   attempt to collect a debt from you personally.

                                                                                                                                                    DAL
Case 20-10643-pmm   Doc   Filed 01/07/25 Entered 01/07/25 17:50:34   Desc Main
                          Document      Page 4 of 8
Case 20-10643-pmm                            Doc            Filed 01/07/25 Entered 01/07/25 17:50:34 Desc Main
                                                            Document      Page Escrow
                                                                               5 of 8 Account Disclosure Statement
                                           RETURN SERVICE ONLY
                                           PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                           PO Box 818060                                               Customer Service: 888-480-2432
                                           5801 Postal Road
                                           Cleveland, OH 44181                                         Monday through Thursday from 7 a.m. to 8 p.m. (CT),
                                                                                                       Friday from 7 a.m. to 7 p.m. (CT) and Saturday from 8 a.m.
                                                                                                       to 12 p.m. (CT)

                                                                                                       Tax/Insurance: 866-825-9267
                                                                                                       Monday through Thursday from 8 a.m. to 9 p.m. (ET),
                                                                                                       Friday from 8 a.m. to 7 p.m. (ET) and Saturday from 9 a.m.
                                                                                                       to 3 p.m. (ET)
   SHARIFAH PATIENCE
   620 E JOHNSON STREET                                                                                Your Loan Number:
   PHILADELPHIA,PA 19138                                                                               Statement Date: 11/30/2024




           Why am I             Mr. Cooper completed an analysis of your escrow account to ensure that the account is funded correctly, determine any surplus or
      receiving this?           shortage, and adjust your monthly payment accordingly. Mr. Cooper may maintain an escrow cushion equal to two months'
                                estimated taxes and insurance (unless limited by your loan documents or state law). This measure helps to avoid negative balance
                                in the event of changing tax and insurance amounts.

      What does this            At this time, your Escrow Account has less money than needed and there is a shortage of $1,388.04. Due to this shortage and
       mean for me?             changes in your taxes and insurance premiums, your monthly escrow payment will increase by $0.43. Eﬀective
                                02/01/2025, your new total monthly payment** will be $1,108.44.
                                                                             Current Monthly                                                           New Monthly
     Total Payment                                                                                            Payment Changes
                                                                                    Payment                                                               Payment
     PRINCIPAL AND INTEREST                                                           $640.43                                   $0.00                       $640.43
     ESCROW                                                                           $351.91                                   $0.43                        $352.34
     SHORTAGE SPREAD                                                                    $0.00                                 $115.67                        $115.67
     Total Payment                                                                   $992.34                                 $116.10                      $1,108.44
     See below for shortage calculation
    What is a Shortage? A shortage is the diﬀerence between the lowest projected balance of your account for the coming year and your minimum
    required balance. To prevent a negative balance, the total annual shortage is divided by 12 months and added to your monthly escrow payment, as shown
    below.


                       Minimum Required Balance                                                                      Lowest Projected Balance
                               $704.68                                                                                        ($683.36)


                                                                        $1,388.04 / 12 = $115.67
                                       Please see the Coming Year Projections table on the back for more details
     Escrow Payment                                                               Current Annual                                                 Anticipated Annual
                                                                                                                     Annual Change
     Breakdown                                                                     Disbursement                                                       Disbursement
     CITY TAX                                                                            $1,138.04                                 $0.00                    $1,138.04
     HAZARD SFR                                                                         $2,396.00                                $694.00                    $3,090.00
     Annual Total                                                                      $3,534.04                                $694.00                   $4,228.04
   If you have questions about changes to your property taxes or homeowners’ insurance premiums, please contact your local taxing authority or insurance provider. For more
   information about your loan, please sign in at www.mrcooper.com.




   Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
   Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
   Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
   recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
   discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to
   collect a debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property
   securing the loan obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication
   shall be construed as an attempt to collect against the borrower personally or an attempt to revive personal liability.
   If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the loan)
   that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an attempt to
   collect a debt from you personally.




                                                       This Area Intentionally Left Blank
                                                       This statement is for informational purposes only.




                                                                                                                                                                              60-3
Case 20-10643-pmm                            Doc           Filed 01/07/25 Entered 01/07/25 17:50:34                                                  Desc Main
                                                           Document      Page 6 of 8
   The change in your escrow payment** may be based on one or more of the following factors:
   PAYMENT(S)                                                TAXES                                               INSURANCE
   ● Monthly payment(s) received were less than              ● Tax rate and/or assessed value changed            ● Premium changed
      or greater than expected                               ● Exemption status lost or changed                  ● Coverage changed
   ● Monthly payment(s) received earlier or later            ● Supplemental/Delinquent tax paid                  ● Additional premium paid
      than expected                                          ● Paid earlier or later than expected               ● Paid earlier or later than expected
   ● Previous overage returned to escrow                     ● Tax installment not paid                          ● Premium was not paid
   ● Previous deﬁciency/shortage not paid entirely           ● Tax refund received                               ● Premium refund received
                                                             ● New tax escrow requirement paid                   ● New insurance escrow requirement paid
                                                                                                                 ● Force placed insurance premium paid
                                                  Prior Year Account History and Coming Year Projections
   This is a statement of the actual activity in your escrow account from 12/23 through 01/25. This statement itemizes your actual
   escrow account transactions since your previous analysis statement or initial disclosure, and projects payments, disbursements, and
   balances for the coming year. The projections from your previous escrow analysis are included with the actual payments and disbursements for the prior
   year. By comparing the actual escrow payment with the previous projections listed, you can determine where a diﬀerence may have occurred. When applicable,
   the letter 'E' beside an amount indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.
   Projections are included to ensure suﬃcient funds are available to pay your taxes and /or insurance for the coming year.Under Federal
   Law (RESPA), the lowest monthly balance in your escrow account should be no less than $704.68 or 1/6th of the total annual projected disbursement from
   your escrow account, unless your mortgage documents or state law speciﬁes otherwise. Your projected estimated lowest account balance of ($683.36) will be
   reached in March 2025. When subtracted from your minimum required balance of $704.68, an Escrow Shortage results in the amount of $1,388.04. These
   amounts are indicated with an arrow (<).
   This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankruptcy ﬁling date are included
   in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other amounts that will come due after the
   ﬁling of your bankruptcy case.

               Projected         Actual            Projected                Actual                       Description                 Projected            Actual
   Month       Payment          Payment          Disbursement            Disbursement                                                  Balance           Balance
                                                                                                            Start                   ($1,279.80)        ($140.48)
    12/23          $0.00          $283.88                     $0.00           $3,090.00*  *              HAZARD SFR                    ($1,279.80)     ($2,946.60)
    01/24          $0.00          $283.88*                    $0.00                 $0.00                                              ($1,279.80)     ($2,662.72)
    02/24        $2,417.84         $351.91                    $0.00            $1,138.04* *             BK ADJ/CITY TAX                  $1,138.04     ($3,448.85)
    03/24         $294.50          $351.91                $1,138.04                 $0.00                   CITY TAX                      $294.50      ($3,096.94)
    04/24         $294.50         $351.91*                    $0.00                 $0.00                                                 $589.00      ($2,745.03)
    05/24        $294.50          $351.91*                    $0.00                 $0.00                                                 $883.50      ($2,393.12)
    06/24        $294.50          $351.91*                    $0.00                 $0.00                                                $1,178.00     ($2,041.21)
    07/24        $294.50          $703.82*                    $0.00                 $0.00                                                $1,472.50      ($1,337.39)
    08/24        $294.50            $0.00                     $0.00                 $0.00                                                $1,767.00      ($1,337.39)
    09/24        $294.50          $351.91*                    $0.00                 $0.00                                                $2,061.50       ($985.48)
    10/24        $294.50          $351.91*                    $0.00                 $0.00                                                $2,356.00       ($633.57)
    11/24        $294.50          $351.91*                    $0.00                 $0.00                                                $2,650.50       ($281.66)
    12/24        $294.50         $351.91*E                    $0.00                 $0.00                                                $2,945.00           $70.25
    01/25        $294.50           $351.91                $2,396.00          $3,090.00*E *E              HAZARD SFR                       $843.50      ($2,667.84)
    Total        $5,657.34       $4,790.68               $3,534.04             $7,318.04                    Total                        $843.50     ($2,667.84)
               Projected                           Projected                                                                           Current       Required
               Payment                           Disbursement                                            Description                   Balance        Balance
   Month                                                                                                                                             Projected
                                                                                                             Start                  ($2,667.84)      ($1,279.80)
    02/25         $352.34                                     $0.00                                                                    ($2,315.50)      ($927.46)
    02/25        $2,417.84                                    $0.00                                         BK ADJ                         $102.34      $1,490.38
    03/25          $352.34                                $1,138.04                                        CITY TAX                      ($683.36)      $704.68<
    04/25         $352.34                                     $0.00                                                                      ($331.02)      $1,057.02
    05/25         $352.34                                     $0.00                                                                         $21.32      $1,409.36
    06/25         $352.34                                     $0.00                                                                        $373.66       $1,761.70
    07/25         $352.34                                     $0.00                                                                        $726.00      $2,114.04
    08/25         $352.34                                     $0.00                                                                      $1,078.34      $2,466.38
    09/25         $352.34                                     $0.00                                                                      $1,430.68      $2,818.72
    10/25         $352.34                                     $0.00                                                                      $1,783.02      $3,171.06
    11/25         $352.34                                     $0.00                                                                      $2,135.36      $3,523.40
    12/25         $352.34                                     $0.00                                                                      $2,487.70      $3,875.74
    01/26         $352.34                                 $3,090.00                                      HAZARD SFR                      ($249.96)      $1,138.08
    Total       $6,645.92                                $4,228.04                                          Total                      ($249.96)       $1,138.08

   Bankruptcy Adjustment- The Prior Year Account History and Coming Year Projections section of the Annual Escrow Account Disclosure Statement may
   contain a line item called "Bankruptcy Adjustment". This amount is a credit based upon the unpaid portion of the escrow funds listed on the proof of claim to
   be paid through the Chapter 13 plan. The amount of the credit is calculated and applied to reach the minimum required balance for the escrow account as
   allowed under the loan documents and applicable non-bankruptcy law. The credit may not represent the total outstanding amount of escrow funds owed in the
   proof of claim but ensures that any escrow funds listed on the proof of claim to be paid through the plan will not be collected through the escrow shortage or
   surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of or surplus listed in the Annual Escrow
   Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow funds are listed as a credit to reach the required minimum
   account balance.
   You will receive an Annual Escrow Account Disclosure Statement reﬂecting the actual disbursements at the end of the next escrow analysis cycle. However,
   you should keep this statement for your own records for comparison. If a previous escrow analysis statement was sent to you by your previous servicer, please
   refer to that statement for comparison purposes. If you have any questions, please call our Bankruptcy Department at 1-877-343-5602. Our hours of
   operation are Monday through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.mrcooper.com for more information.

   Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.
Case 20-10643-pmm       Doc       Filed 01/07/25 Entered 01/07/25 17:50:34    Desc Main
                                  Document      Page 7 of 8
      ALDRIDGE PITE, LLP
      3333 Camino del Rio South
      Suite 225
      San Diego CA 92108
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                              UNITED STATES BANKRUPTCY COURT

            EASTERN DISTRICT OF PENNSYLVANIA - PHILADELPHIA DIVISION
      In re Sharifah R. Patience,                   Case No. 20-10643-pmm

                     Debtor(s).                     Chapter 13

                                                    PROOF OF SERVICE

            I, Sarah Valdez, declare that:

            I am employed by Aldridge Pite, LLP. My business address is: 3333 Camino del Rio

     South, Suite 225, San Diego CA 92108. I am over the age of eighteen years and not a party to

     this cause.

            On January 7, 2025, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to be

     served in said case by electronic means through the court’s CM/ECF system or through United

     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.

            I declare under penalty of perjury that the foregoing is true.


                                                   /s/Sarah Valdez
                                                   SARAH VALDEZ




                                                    -1-
     PROOF OF SERVICE
Case 20-10643-pmm      Doc    Filed 01/07/25 Entered 01/07/25 17:50:34   Desc Main
                              Document      Page 8 of 8
                                        SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Sharifah R. Patience
     620 E. Johnson Street
     Philadelphia, PA 19138


     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     MICHAEL A. CIBIK


     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     KENNETH E. WEST


     UNITED STATES TRUSTEE
     (VIA ELECTRONIC NOTICE)
     United States Trustee




                                              -2-
     PROOF OF SERVICE
